Case 19-22142 Doc19 Filed 10/18/19 Page 1 of 23

     
      
      
 

Fill in this information to identify your case and this filing:

 

Debtor 1 CHRISTIAN MARCIANO FLORES

First Name Middle Name Last Name

       

       

Debtor 2 ROXANA MARITZA SOTOMAYOR
(Spouse, if filing) First Name Middle Name Last Name

  
 
 

United States Bankruptcy Court for the: DISTRICT OF MARYLAND

   
        

Case number 19-22142 LSS
(if known)

  

» Check this is an

; vamended filing

 
  
 
 

 

Official Form 106A/B
Schedule A/B: Property 12/15

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
C1 No. Go to Part 2.
Yes. Where is the property?

Official Form 106A/B Schedule A/B: Property page 1

 

 
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Debtor 1 CHRISTIAN MARCIANO FLORES

 

 

 

 

 

 

 

Debtor2 ROXANA MARITZA SOTOMAYOR Case number (if known) _ 19-22142 LSS
1.1. What is the property? Do not deduct secured claims or exemptions. Put the
18233 SWISS CIRCLE APT 1-37 Check all that apply. amount of any secured claims on Schedule D:
Street address, if available, or other description 0 Single-family home Creditors Who Have Claims Secured by Property. |
(CJ Dupiex or multi-unit building Current value of the Current value of the
Condominium or cooperative entire property? portion you own? |
GERMANTOWN MD 20874 ( Manufactured or mobile home $135,000.00 $135,000.00
City State ZIP Code oO Land |
(J !nvestment property Describe the nature of your ownership
oO Timeshare interest (such as fee simple, tenancy by the |
MONTGOMERY C] Other entireties, or a life estate), if known. |
County —_— |
RESIDENCE Who has an interest in the property? MORTGAGE
Check one.
oO Debtor 1 only | Check if this is community property
CO Debtor 2 only (see instructions)

Debtor 1 and Debtor 2 only
[J Atleast one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

 

PURCHASE DATE: 12/19/2013
PURCHASE PRICE: $143,589.00

**MORTGAGE***

LOAN OBTAINED: 10/2016
LOAN AMOUNT: $128,264.00
MONTHLY PYMT: $837.09
BALANCE: $123,259.12

***L_ IQUIDATION***

$135,000.00 Value

$123,259.12 Mtg

$ 13,500.00 10% Cost and Sale

 

($ 1,759.12) Negative Equity

Official Form 106A/B Schedule A/B: Property page 2

 

 
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Debtor 1 CHRISTIAN MARCIANO FLORES

 

 

 

 

 

 

 

 

 

Debtor2 ROXANA MARITZA SOTOMAYOR Case number (if known) _ 19-22142 LSS
1.2. What is the property? Do not deduct secured claims or exemptions. Put the
9816 HELLINGLY PLACE #93 Check all that apply. amount of any secured claims on Schedule D:
Street address, if available, or other description CO Single-family home Creditors Who Have Claims Secured by Property.
(CJ Puplex or multi-unit building Current value of the Current value of the
Condominium or cooperative entire property? portion you own?
GAITHERSBURG MD 20886 (1) Manufactured or mobile home $0.00 $0.00
City State ZIP Code oO Land
CJ 'nvestment property Describe the nature of your ownership |
oO Timeshare interest (such as fee simple, tenancy by the |
MONTGOMERY entireties, or a life estate), if known.
County oO Other
: . MORTGAGE
Who has an interest in the property?
RENTAL PROPERTY Check one.
Debtor 1 only CJ Check if this is community property
oO Debtor 2 only (see instructions)

[J Debtor 1 and Debtor 2 only
[) Atleast one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

PURCHASE DATE: 04/2007
PURCHASE PRICE: $170,000.000

*“*“MORTGAGE***

LOAN OBTAINED: 04/2007
LOAN AMOUNT: $170,000.00
MONTHLY PYMT: $875.91
BALANCE: $154,721.35

*LIQUIDATION***

$ 99,950.00 Value
$154,941.35 Mtg

$ 9,995.00 10% Cost and Sale

 

($ 64,986.35) Negative Equity

 

 

 

 

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any
entries for pages you have attached for Part 1. Write that number here.....c..ccscscssssccsccssecssccsecsecescsccoecoeccecceees > ___ $135,000.00
Official Form 106A/B Schedule A/B: Property page 3

 
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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor2 ROXANA MARITZA SOTOMAYOR Case number (if known) _19-22142 LSS

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

[[] No

Yes
3.1. Who has an interest in the property? Do not deduct secured claims or exemptions. Put the
Make: FORD Check one. amount of any secured claims on Schedule D:
Model: EXPLORER Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2001 (J Debtor 2 only Current value of the Current value of the

‘ TT (J Debtor 1 and Debtor 2 only entire property? portion you own?
Approximate mileage: 173,000 [7 Atleast one of the debtors and another $462.00 $462.00
Other information:
2001 FORD EXPLORER (approx. [-] Check if this is community property
173,000 miles) (see instructions)
2DR/AUTO
FAIR CONDITION
PURCHASE DATE: 6/30/2000
PURCHASE PRICE: $23,100.00
NO LIENS
3.2. Who has an interest in the property? Do not deduct secured claims or exemptions. Put the
Make: NISSAN Check one. amount of any secured claims on Schedule D:
Model: VERSA Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2012 [J Debtor 2 only Current value of the Current value of the

‘ (J Debtor 1 and Debtor 2 only entire property? portion you own?
Approximate mileage: 66,000 [J Atleast one of the debtors and another $2,048.00 $2,048.00

 

Other information:

2012 NISSAN VERSA (approx. 66,000 (0 Check if this is community property
miles) (see instructions)

4DR/AUTO

FAIR CONDITION

PURCHASE DATE: 11/2012

PURCHASE PRICE: $16,550.00

 

NO LIENS
3.3. Who has an interest in the property? Do not deduct secured claims or exemptions. Put the
Make: NISSAN Check one. amount of any secured claims on Schedule D:
Model: ALTIMA [ Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2001 (J Debtor 2 only Current value of the Current value of the

, J Debtor 1 and Debtor 2 only entire property? portion you own?
Approximate mileage: 146,000 [J Atleast one of the debtors and another $50.00 $50.00

 

Other information:

2001 NISSAN ALTIMA (approx. 146,000 (0 Check if this is community property
miles) (see instructions)

4DR/AUTO

POOR CONDITION (NOT OPERABLE)

PURCHASE DATE: $6/14/2018

PURCHASE PRICE: $1,100.00

NO LIENS

Official Form 106A/B Schedule A/B: Property page 4

 

 
 

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Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES

ROXANA MARITZA SOTOMAYOR Case number (if known)

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

No
Ci Yes

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any
entries for pages you have attached for Part 2. Write that number here........ccccssssssssssscsssssssessssssssesconsescccccese >

PREM Describe Your Personal and Household Items

19-22142 LSS

 

 

$2,560.00

 

 

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

( No

 

Yes. Describe.....| LIVING ROOM: 1 COUCH, 1 LOVE SEAT, 1 TV.

DINING ROOM: 1 TABLE, 4 CHAIRS.

KITCHEN: 30 COOKING AND EATING UTENSILS.

BEDROOM #1: 1 BED, 3 CHEST DRAWERS, 2 DRESSERS, 1 TV.

BEDROOM #2: 2 BEDS, 1 CHEST DRAWER, 1 DRESSER, 1 TABLE, 1 TV.

 

 

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners:
music collections; electronic devices including cell phones, cameras, media players, games

( No

 

Yes. Describe..... 2 LAPTOPS & 2 CELLS PHONE

 

 

 

8. Coliectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections: other collections, memorabilia, collectibles

fyJ No

 

O Yes. Describe.....

 

 

 

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
canoes and kayaks; carpentry tools; musical instruments

f¥yJ No

 

O Yes. Describe.....

 

 

 

10. Firearms

Examples: Pistols, rifles, shotguns, ammunition, and related equipment

7 No

 

oO Yes. Describe.....

 

 

 

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

(] No

 

Yes. Describe...../ HUSBAND: 5 SUITS, 1 SPORT COAT, 8 SHIRTS, 6 PANTS, 4 SWEATERS, 6

PAIRS OF SHOES, 1 COAT, 1 JACKET.

WIFE: 2 SUITS, 3 BLAZERS, 3 SKIRTS, 3 PANTS, 2 BLOUSES, 3 DRESSES, 4
SWEATERS, 2 JACKETS, 1 COAT, 1 PAIRS OF SHOES, 3 PURSES.

 

 

 

Official Form 106A/B Schedule A/B: Property

 

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

$500.00

$300.00

$500.00

——_ $e

page 5

 

 
 

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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known)
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, siiver
( No

 

Yes. Describe...../ HUSBAND: 1 RING, 1 WATCH

WIFE: 1 NECKLACE, 1 BRACELET, 2 RINGS, 1 BROACH, 5 PAIRS OF EARRI

 

 

13. Non-farm animals

Examples: Dogs, cats, birds, horses
No

 

0 Yes. Describe.....

 

 

 

14. Any other personal and household items you did not already list, including any health aids you

did not list

No
oO Yes. Give specific

 

information.............

 

 

 

19-22142 LSS

$300.00

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have

attached for Part 3. Write the number here.............ssssssssssssccsssssssssssssssssssssssressssseesessssssessssissessssssssssssecoseceeese

 

$1,600.00

 

PRES Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
petition
( No
PL] YES. eesss esses eccesseteecsssseccssnsesssssesseessnissssstssesssssssssssuvsssransssssntssssussasesssssivesssstesessitecseeseseece CASH: oo eeceeeecseseees
17. Deposits of money

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
brokerage houses, and other similar institutions. If you have multiple accounts with the same
institution, list each.

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

$20.00

ST

 

 

 

 

 

 

[ No
4 Institution name:
17.1. Checking account: Checking account #X341
MID-ATLANTIC FCU $1,206.92
17.2. | Checking account: Checking account #2270
SCHOOLS FIRST FCU $566.32
17.3. | Checking account: Checking account #0722
BANK OF AMERICA $5.30
17.4. | Checking account: Checking account #7908
BANK OF AMERICA $457.50
17.5. Checking account: Checking account #6531
BANK OF AMERICA $345.86
17.6. | Checking account: Checking account #0341
BANK OF AMERICA
1/2 INTEREST WITH DAUGHTER $56.57
Official Form 106A/B Schedule A/B: Property page 6

 

 

 
 

Case 19-22142 Doc19 Filed 10/18/19 Page/7 of 23

Debtor 1 CHRISTIAN MARCIANO FLORES

 

 

 

 

 

 

 

 

 

 

 

 

Debtor2_ ~=ROXANA MARITZA SOTOMAYOR Case number (if known) _ 19-22142 LSS
17.7. Checking account: Checking account #8010
BANK OF AMERICA
1/2 INTEREST WITH DAUGHTER $5.00
17.8. | Checking account: Checking account #3896
BANK OF AMERICA
1/2 INTEREST WITH SON $25.01
17.9. Checking account: Checking account #6544
BANK OF AMERICA
1/2 INTEREST WITH PARENT $150.00
17.10. Savings account: Savings account #X341
MID-ATLANTIC FCU $180.14
17.11. Savings account: Savings account #2270
SCHOOLS FIRST FCU $8.88
17.12. Savings account: Savings account #9186
BANK OF AMERICA $302.89
17.13. Other financial account: Other financial account (MONEY MARKET ACCT) #9577
ALLY/GMAC
1/4 INTEREST WITH FAMILY MEMBERS $156.56
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
No
DD YES... Institution or issuer name:
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
an interest in an LLC, partnership, and joint venture
No
CI Yes. Give specific
information about
THEM... eececeeeeeeeeee Name of entity: % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
No
[] Yes. Give specific
information about
HHOM 0... ecceesecsecseeeseee Issuer name:
21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
profit-sharing plans
(LJ No
Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: 401(k)
BANK OF AMERICA/MERRILL $51,175.77
Pension plan: Pension plan #0795
BANK OF AMERICA/FIDELITY INVESTMENTS $11,652.79
Pension plan: Pension plan #9169
BANK OF AMERICA/FIDELITY INVESTMENTS $14,638.20
Official Form 106A/B Schedule A/B: Property page 7

 

 
 

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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor2 ROXANA MARITZA SOTOMAYOR Case number (if known) _19-22142 LSS

22.

23.

24,

25.

26.

27.

 

 

Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others

No
[Oy YOS one eee eeeeeeteeeeeeeen Institution name or individual:
Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)

7 No

[Oy VES. escetetstesesteseeees Issuer name and description:

Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

No
[I YES. eseeteeeceeeeteeeenes Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)

Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
powers exercisable for your benefit

1 No
C1 Yes. Give specific
information about them

 

 

 

 

Patents, copyrights, trademarks, trade secrets, and other intellectual property;

Examples: Internet domain names, websites, proceeds from royaities and licensing agreements

No

[J Yes. Give specific
information about them

 

 

 

 

Licenses, franchises, and other general intangibles

Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

f¥J No

CI Yes. Give specific
information about them

 

 

 

 

Money or property owed to you? Current value of the

28.

portion you own?
Do not deduct secured
claims or exemptions.

Tax refunds owed to you

C] No
lJ Yes. Give specific information | Federal: 2018 FEDERAL TAX RETURN REFUND: $3,520.00) Federal: $0.00
about them, including whether | Amt: $0.00

 

 

 

 

 

 

 

 

 

you already filed the returns States «$0.00
ANd the AX YOALS..reeeerereesern State: MD STATE TAX RETURN REFUND: $218.00. Amt: | Local: $0.00
$0.00
29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
No
CJ Yes. Give specific information Alimony:
Maintenance:
Support:
Divorce settlement:
Property settlement:
Official Form 106A/B Schedule A/B: Property page 8

 

 
 

 

Case 19-22142 Doc19 Filed 10/18/19 Page 9 of 23

Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor2 ROXANA MARITZA SOTOMAYOR Case number (if known) _19-22142 LSS

 

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
compensation, Social Security benefits; unpaid loans you made to someone else

I No

CQ Yes. Give specific information

 

 

 

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

[J No
Yes. Name the insurance
company of each policy
and list its value............... Company name: Beneficiary: Surrender or refund value:

LIFE INSURANCE THROUGH

EMPLOYER

WITH CIGNA GROUP LIFE

TERM LIFE

DEATH BENEFIT: $104,000.00

NO CASH VALUE ROXANA M SOTOMAYOR $0.00

 

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
entitled to receive property because someone has died

fy No

(0 Yes. Give specific information

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

fy No

Co Yes. Describe each claim........

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
rights to set off claims

No

| Yes. Describe each claim........

 

 

35. Any financial assets you did not already list

fy No

oO Yes. Give specific information

 

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
attached for Part 4. Write that number here.............2..cccssscssssssssccssesssssesscsseasotssscacscassesesteatecaceuseesevscscetsessesecee > ___ $80,953.71

 

 

 

ERTee Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

YJ No. Go to Part 6.
oO Yes. Go to line 38.

Official Form 106A/B Schedule A/B: Property page 9

 
 

 

Case 19-22142 Doc19 Filed 10/18/19 Page 10 of 23

Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor2 ROXANA MARITZA SOTOMAYOR Case number (if known) _19-22142 LSS

Current vaiue of the

portion you own?

Do not deduct secured

claims or exemptions.
38. Accounts receivable or commissions you already earned

fy No

| Yes. Describe..

 

 

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
desks, chairs, electronic devices

fy No

Oo Yes. Describe..

 

 

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

fy No

O Yes. Describe..

 

 

 

41. Inventory

YI No

oO Yes. Describe..

 

 

 

 

42. Interests in partnerships or joint ventures

fy No

(J Yes. Describe... Name of entity: % of ownership:
43. Customer lists, mailing lists, or other compilations

fy No

CJ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

(J No

oO Yes. Describe...

 

 

 

 

44. Any business-related property you did not already list

fyJ No

[I Yes. Give specific information.

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
attached for Part 5. Write that number here...........ccscsssssssssssssssssssssesseresuesnessosssusssussssessssssissssssoseusesesceeccescseccesees >; «$0.00

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.
oO Yes. Go to line 47.

Official Form 106A/B Schedule A/B: Property page 10

 

 
Case 19-22142 Doc19 Filed 10/18/19 Page 11 of 23

Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor2. ROXANA MARITZA SOTOMAYOR Case number (if known) _19-22142 LSS

47.

48.

49.

50.

51.

§2.

 

 

Farm animals
Examples: Livestock, poultry, farm-raised fish

fy No

 

oO Yes....

 

 

Crops--either growing or harvested

J No

 

oO Yes. Give specific
information.........0...

 

 

 

Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

fy No

 

O Yes....

 

 

 

Farm and fishing supplies, chemicals, and feed

 

No
OD Yes....

 

 

Any farm- and commercial fishing-related property you did not already list

7 No

 

[] Yes. Give specific
information...............

 

 

 

Add the dollar value of all of your entries from Part 6, including any entries for pages you have
attached for Part 6. Write that number here.............csscssscsssssssscssssssssssssesesstsesasssssassscsesssssesussvesssucatasececseceseseccece >

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

53.

54.

Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

f¥J No

oO Yes. Give specific information.

$0.00

 

 

Add the dollar value of all of your entries from Part 7. Write that number here.....c.cccsccsscscesceccecceccsecseosecceeces >

 

$0.00

 

Official Form 106A/B Schedule A/B: Property

 

 

page 11

 

 

 
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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor2 =ROXANA MARITZA SOTOMAYOR

Case number (if known) _ 19-22142 LSS

 

List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2.......cccsccsssssccssecessssesnee

56. Part 2: Total vehicles, line 5

sevsssccennssssssssusssssssseeeesnsesecteceesessssssssseseseesssessssusessssssnsenen > $135,000.00

$2,560.00

57. Part 3: Total personal and household items, line 15 $1,600.00
58. Part 4: Total financial assets, line 36 $80,953.71
59. Part 5: Total business-related property, line 45 $0.00
60. Part 6: Total farm- and fishing-related property, tine 52 $0.00

61. Part 7: Total other property not listed, line 54

62. Total personal property. Add lines 56 through 61.....

+ $0.00

 

Copy personal

cesses $85,113.71 | property total D> + $85,113.71

 

 

 

 

63. Total of all property on Schedule AJB. Add line 55 + line 62.0.0... ccccecccecscescssessssccsssesssssesecssstsstcesecceseeceescescecseece $220,113.71

Official Form 106A/B

 

 

 

Schedule A/B: Property page 12

 

 
 

Case 19-22142 Doc19 Filed 10/18/19 Page 13 of 23

Fill in this information to identify your case:
Debtor 1 CHRISTIAN MARCIANO FLORES
First Name Middle Name Last Name

Debtor 2 ROXANA MARITZA SOTOMAYOR
(Spouse, if filing) First Name Middle Name Last Name maya ry dd

United States Bankruptcy Court for the: DISTRICT OF MARYLAND

  

w Check if this is an
{ L.ainéhded filing

  
 

Case number 19-22142 LSS HS TR
(if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

PEREAE Icientity the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
[ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of Amount of the Specific laws that allow exemption
Schedule A/B that lists this property the portion you exemption you claim
own

Copy the value from Check only one box for
Schedule A/B each exemption

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

M No ‘

[] Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
oO No
oO Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1

 

 
 

Case 19-22142 Doc19 Filed 10/18/19 Page 14 of 23

Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES
ROXANA MARITZA SOTOMAYOR

Additional Page

Brief description of the property and line on
Schedule A/B that lists this property

Current value of
the portion you
own

Copy the value from

Amount of the
exemption you claim

Check only one box for

Case number (if known)

 

 

19-22142 LSS

Specific laws that allow exemption

 

 

 

 

 

 

Schedule A/B each exemption

Brief description: $135,000.00 $11,520.88 Md. Code Ann., Cts. & Jud. Proc. §
RESIDENCE [] 100% of fairmarket —14-504(f)(1)(i)(2)
PURCHASE DATE: 12/19/2013 value, up to any
PURCHASE PRICE: $143,589.00 applicable statutory

limit
***MORTGAGE***
LOAN OBTAINED: 10/2016
LOAN AMOUNT: $128,264.00
MONTHLY PYMT: $837.09
BALANCE: $123,259.12
***L_IQUIDATION***
$135,000.00 Value
$123,259.12 Mtg
$ 13,500.00 10% Cost and Sale
($ 1,759.12) Negative Equity
Line from Schedule A/B: 1.1
Brief description: $462.00 4 $462.00 Md. Code Ann., Cts. & Jud. Proc. §
2001 FORD EXPLORER (approx. 173,000 (C] 100% of fair market 11-504(b)(5)
miles) value, up to any
2DR/AUTO applicable statutory
FAIR CONDITION limit
PURCHASE DATE: 6/30/2000
PURCHASE PRICE: $23,100.00
NO LIENS
Line from Schedule A/B: 3.1
Brief description: $2,048.00 $2,048.00 Md. Code Ann., Cts. & Jud. Proc. §
2012 NISSAN VERSA (approx. 66,000 [] 100% of fairmarket 11-504(b)(5)
miles) value, up to any
4DR/AUTO applicable statutory
FAIR CONDITION limit
PURCHASE DATE: 11/2012
PURCHASE PRICE: $16,550.00
NO LIENS :
Line from Schedule A/B: 3.2
Brief description: $50.00 | $50.00 Md. Code Ann., Cts. & Jud. Proc. §
2001 NISSAN ALTIMA (approx. 146,000 [1] 100% of fairmarket 11-504(b)(5)

miles)

4DR/AUTO

POOR CONDITION (NOT OPERABLE)
PURCHASE DATE: $6/14/2018
PURCHASE PRICE: $1,100.00

NO LIENS

Line from Schedule A/B: 3.3

value, up to any
applicable statutory
limit

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 2

 
 

Case 19-22142 Doc19 Filed 10/18/19 Page 15 of 23

Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES
ROXANA MARITZA SOTOMAYOR

FERPA Additional Page

Brief description of the property and line on
Schedule A/B that lists this property

Current value of
the portion you
own

Copy the value from

Amount of the
exemption you claim

Check only one box for

Case number (if known)

 

19-22142 LSS

Specific laws that allow exemption

 

 

 

 

 

Schedule A/B each exemption
Brief description: $500.00 $500.00 Md. Code Ann., Cts. & Jud. Proc. §
LIVING ROOM: 1 COUCH, 1 LOVE SEAT, 1 (J 100% of fairmarket 11-504(b)(4)
TV. value, up to any
DINING ROOM: 1 TABLE, 4 CHAIRS. applicable statutory
KITCHEN: 30 COOKING AND EATING limit
UTENSILS.
BEDROOM #1: 1 BED, 3 CHEST DRAWERS,
2 DRESSERS, 1 TV.
BEDROOM #2: 2 BEDS, 1 CHEST DRAWER,
1 DRESSER, 1 TABLE, 1 TV.
Line from Schedule A/B: 6
Brief description: $300.00 wi $300.00 Md. Code Ann., Cts. & Jud. Proc. §
2 LAPTOPS & 2 CELLS PHONE [] 100% of fair market 11-504(b)(5)
Line from Schedule A/B: 7 value, up to any
—_— applicable statutory

limit
Brief description: $500.00 4 $500.00 Md. Code Ann., Cts. & Jud. Proc. §
HUSBAND: 5 SUITS, 1 SPORT COAT, 8 (1 100% of fairmarket 11-504(b)(4)
SHIRTS, 6 PANTS, 4 SWEATERS, 6 PAIRS value, up to any
OF SHOES, 1 COAT, 1 JACKET. applicable statutory

limit
WIFE: 2 SUITS, 3 BLAZERS, 3 SKIRTS, 3
PANTS, 2 BLOUSES, 3 DRESSES, 4
SWEATERS, 2 JACKETS, 1 COAT, 1 PAIRS
OF SHOES, 3 PURSES.
Line from Schedule A/B: 11
Brief description: $300.00 $300.00 Md. Code Ann., Cts. & Jud. Proc. §

 

HUSBAND: 1 RING, 1 WATCH

WIFE: 1 NECKLACE, 1 BRACELET, 2 RINGS,
1 BROACH, 5 PAIRS OF EARRINGS
Line from Schedule A/B: 12

ON

100% of fair market
value, up to any
applicable statutory
limit

11-504(b)(5)

 

 

 

 

 

Brief description: $20.00 $20.00 Md. Code Ann., Cts. & Jud. Proc. §
CASH ON HAND: $20.00 [ 100% of fairmarket 11-504(b)(5) ,
Line from Schedule A/B: 16 value, up to any

_ applicable statutory

limit

Brief description: $1,206.92 | $1,206.92 Md. Code Ann., Cts. & Jud. Proc. §
Checking account #X341 (J 100% of fairmarket 11-504(b)(5)
MID-ATLANTIC FCU value, up to any
Line from Schedule A/B: 17.1 applicable statutory

—_—_ limit
Brief description: $180.14 $180.14 Md. Code Ann., Cts. & Jud. Proc. §

 

Savings account #X341
MID-ATLANTIC FCU

Line from Schedule A/B: 17.10

OW

100% of fair market
value, up to any
applicable statutory
limit

11-504(b)(5)

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 3

 

 
 

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Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES
ROXANA MARITZA SOTOMAYOR

 

Additional Page

Brief description of the property and line on
Schedule A/B that lists this property the portion you

own

Copy the value from

Current value of

Amount of the
exemption you claim

Check only one box for

Case number (if known)

 

19-22142 LSS

Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B each exemption
Brief description: $566.32 $566.32 Md. Code Ann., Cts. & Jud. Proc. §
Checking account #2270 [] 100% of fairmarket 11-504(b)(5)
SCHOOLS FIRST FCU value, up to any
Line from Schedule A/B: 17.2 applicable statutory
——_——_ limit
Brief description: $8.88 vw $8.88 Md. Code Ann., Cts. & Jud. Proc. §
Savings account #2270 (0 100% of fairmarket 11-504(b)(5)
SCHOOLS FIRST FCU value, up to any
Line from Schedule A/B: 17.11 applicable statutory
limit
Brief description: $5.30 $5.30 Md. Code Ann., Cts. & Jud. Proc. §
Checking account #0722 [ 100% of fairmarket 11-504(b)(5)
BANK OF AMERICA value, up to any
Line from Schedule A/B: 17.3 applicable statutory
Te limit
Brief description: $457.50 wv $457.50 Md. Code Ann., Cts. & Jud. Proc. §
Checking account #7908 ( 100% offairmarket 11-504(b)(5)
BANK OF AMERICA value, up to any
Line from Schedule A/B: 17.4 applicable statutory
limit
Brief description: $302.89 $302.89 Md. Code Ann., Cts. & Jud. Proc. §
Savings account #9186 [I] 100% of fair market 11-504(b)(5)
BANK OF AMERICA value, up to any
Line from Schedule A/B: 17.12 applicable statutory
limit
Brief description: $345.86 $345.86 Md. Code Ann., Cts. & Jud. Proc. §
Checking account #6531 [ 100% of fairmarket 11-504(b)(5)
BANK OF AMERICA value, up to any
Line from Schedule A/B: _ 17.5 applicable statutory
— limit
Brief description: $56.57 i) $56.57 Md. Code Ann., Cts. & Jud. Proc. §
Checking account #0341 [J 100% of fairmarket 11-504(b)(5)
BANK OF AMERICA value, up to any
applicable statutory
1/2 INTEREST WITH DAUGHTER limit
Line from Schedule A/B: 17.6
Brief description: $5.00 $5.00 Md. Code Ann., Cts. & Jud. Proc. §

 

Checking account #8010
BANK OF AMERICA

1/2 INTEREST WITH DAUGHTER
Line from Schedule A/B: _ 17.7

Of

100% of fair market
value, up to any
applicable statutory
limit

11-504(b)(5)

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 4

 
Case 19-22142 Doc19 Filed 10/18/19 Page 17 of 23

Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES
ROXANA MARITZA SOTOMAYOR

 

Additional Page

Brief description of the property and line on
Schedule A/B that lists this property

Current value of
the portion you
own

Copy the value from

Amount of the
exemption you claim

Check only one box for

Case number (if known)

 

19-22142

LSS

Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B each exemption

Brief description: $25.01 $25.01 Md. Code Ann., Cts. & Jud. Proc. §
Checking account #3896 [J 100% of fairmarket 11-504(b)(5)
BANK OF AMERICA value, up to any

applicable statutory
1/2 INTEREST WITH SON limit
Line from Schedule A/B: 17.8
Brief description: $150.00 M $150.00 Md. Code Ann., Cts. & Jud. Proc. §
Checking account #6544 [J 100% of fairmarket 11-504(b)(5)
BANK OF AMERICA value, up to any

applicable statutory
1/2 INTEREST WITH PARENT limit
Line from Schedule A/B: 17.9
Brief description: $156.56 $156.56 Md. Code Ann., Cts. & Jud. Proc. §
Other financial account (MONEY MARKET [D] 100% of fairmarket 11-504(b)(5)
ACCT) #9577 value, up to any
ALLY/GMAC applicable statutory

limit
1/4 INTEREST WITH FAMILY MEMBERS
Line from Schedule A/B: 17.13
Brief description: $11,652.79 v7] $11,652.79 Md. Code Ann., Cts. & Jud. Proc. §
Pension plan #0795 (J 100% of fairmarket 11-504(h)
BANK OF AMERICA/FIDELITY INVESTMENTS value, up to any
Line from Schedule A/B: 21 applicable statutory

limit
Brief description: $14,638.20 ww $14,638.20 Md. Code Ann., Cts. & Jud. Proc. §
Pension plan #9169 [J 100% of fairmarket 11-504(h)
BANK OF AMERICA/FIDELITY INVESTMENTS value, up to any
Line from Schedule A/B: 21 applicable statutory

_ limit
Brief description: $51,175.77 $51,175.77 Md. Code Ann., Cts. & Jud. Proc. §
401(k) [J 100% of fairmarket 11-504(h)
BANK OF AMERICA/MERRILL value, up to any
Line from Schedule A/B: 21 applicable statutory
— limit

Official Form 106C Schedule C: The Property You Claim as Exempt page 5

 

 
Case 19-22142 Doc19 Filed 10/18/19

Fill in this information to identify your case:

MARCIANO
Middle Name

MARITZA
Middle Name’

CHRISTIAN

First Name

ROXANA

First Name

Debtor 1

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:

Case number 19-22142 LSS

(if known)

 

DISTRICT OF MARYLAND

FLORES

Last Name

SOTOMAYOR

Last Name

Me

 

Official Form 106|

Check if this is" =

An ed filin

PTE PY fs se

oO A supplement showing postpetition
FS cofiabter 43 incor
LAS]

  
  

Page 18 of 23

        

th

    

f the following date:

ane LAS:

    

  

 

 

1. Fill in your employment
information.

applies.

 

 

 

 

 

 

 

Schedule I: Your Income 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.
Describe Employment
Debtor 1 Debtor 2 or non-filing spouse
If you have more than one
job, attach a separate page Employment status Employed Employed
with information about OC Not employed LI Not employed
additional employers.
Occupation JR ASSOCIATE QUALITY REVIEW RELATIONSHIP MANAGER
Include part-time, seasonal,
or self-employed work. Employer's name MUFG INVESTOR SERVICES LLC BANK OF AMERICA
Occupation may include = Employer's address 805 KING FARM BLVD STE 600 474 N FREDERICK AVENUE
student or homemaker, if it Number Street Number Street
ROCKVILLE MD 20850 GAITHERSBU! MD _ 20877
City State Zip Code City State Zip Code

How long employed there?

Give Details About Monthly Income

01/02/2018 - PRESENT

05/20/2002 - PRESENT

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your

non-filing spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. if

you need more space, attach a separate sheet to this form.

2. List monthly gross wages, salary, and commissions (before al! 2.

For Debtor 1

For Debtor 2 or
non-filing spouse

 

payroll deductions). If not paid monthly, calculate what the monthly wage

would be.

3. Estimate and list monthly overtime pay.

4. Calculate gross income. Add line 2 + line 3.

Official Form 1061

 

 

$4,588.33 $3,977.61
3. + $0.00 $0.00
4. $4,588.33 $3,977.61

 

 

 

 

 

 

Schedule I: Your Income

 

page 1

 
Case 19-22142 Doc19 Filed 10/18/19 Page 19 of 23

Debtor 1 CHRISTIAN MARCIANO FLORES

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor2 ROXANA MARITZA SOTOMAYOR Case number (ifknown) 19-22142 LSS
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 Were oo... cssccssssssssssssessscnseessesarsasseesersecatessescssestesssacnese => 4. $4,588.33 $3,977.61
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $1,120.84 $747.16
5b. Mandatory contributions for retirement plans 5b. $0.00 $345.65
5c. Voluntary contributions for retirement plans 5c. $0.00 $118.45
5d. Required repayments of retirement fund loans 5d. $0.00 $385.32
5e. Insurance 5e. $0.00 $415.91
5f. Domestic support obligations 5f. $0.00 $0.00
5g. Union dues 5g. $0.00 $0.00
Sh. Other deductions.
Specify: See continuation sheet 5h.+ $30.84 $24.12
6. Add ae payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+ 6. $1,151.68 $2,036.61
5g + 5h.
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $3,436.65 $1,941.00
8. List all other income regularly received:
8a. Net income from rental property and from operating a 8a. $0.00 $0.00

 

business, profession, or farm

Attach a statement for each property and business showing
gross receipts, ordinary and necessary business expenses, and
the total monthly net income.

8b. Interest and dividends 8b. $0.00 $0.00

8c. Family support payments that you, a non-filing spouse, or a 8c. $0.00 $0.00
dependent regularly receive

 

 

Include alimony, spousal support, child support, maintenance,
divorce settlement, and property settlement.

8d. Unemployment compensation 8d. $0.00 $0.00
8e. Social Security 8e. $0.00 $0.00
8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) or any non-

cash assistance that you receive, such as food stamps

(benefits under the Supplemental Nutrition Assistance Program)

or housing subsidies.

 

 

 

 

 

 

 

 

 

 

Specify: 8f. $0.00 $0.00
8g. Pension or retirement income 8g. $0.00 $0.00
8h. Other monthly income.
Specify: CHILD SUPPORT 8h. 4 $0.00 $95.00
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8F + 8g+8h. 9. $0.00 $95.00
10. Calculate monthly income. Add line 7 + line 9. 10. $3,436.65 |+ $2,036.00 |= $5,472.65
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

 

 

 

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

 

 

 

Specify: 1. + $0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly 12. $5,472.65

income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, -

if it applies. Combined

monthly income
13. Do you expect an increase or decrease within the year after you file this form?
No. None.
C1 Yes. Explain:

 

 

 

 

Official Form 106 Schedule |: Your Income page 2

 

 

 
Case 19-22142 Doc 19

Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor2 ROXANA MARITZA SOTOMAYOR

Filed 10/18/19 Page 20 of 23

 

 

 

 

 

 

For Debtor 1 For Debtor 2 or

5h. Other Payroll Deductions (details) non-filing spouse
GROUP TERM LIFE INS / CHILD LIFE INSURANCE $6.84 $1.11
METLAW LEGAL / AD&D INSURANCE $24.00 $3.53
PREPAID LEGAL $14.50
LTD INSURANCE $4.98
Totals: $30.84 $24.12

Official Form 106

 

 

 

 

 

 

Schedule I: Your Income page 3

Case number (if known) 19-22142 LSS

 
 

Case 19-22142 Doc19 Filed 10/18/19 Page 21 of 23

Fill in this information to identify your case:

  

Check if this is: i
Debtor 1 CHRISTIAN MARCIANO FLORES An amended filing *
First Name Middle Name Last Name oO A cunplemnent showing postpetition

v4

Debtor 2 ROXANA MARITZA SOTOMAYOR chapte Gbsispgas pipe,
(Spouse, if filing) First Name Middle Name Last Name following date: SOFT IG

#

  

 

United States Bankruptcy Court for the: DISTRICT OF MARYLAND

Case number 19-22142 LSS
(if known)

Official Form 106J

Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.

Describe Your Household

1. Is this a joint case?

 

 

(1 No. Go to line 2.
Yes. Does Debtor 2 live in a separate household?

WI No

(1 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents? CI No

 

 

 

 

 

 

”, : ar : Dependent's relationship to Dependent’s Does dependent
Do not list Debtor 1 and res. ane spondent ton Debtor 1 or Debtor 2 age live with you?
Debtr2.ti(<é«‘é‘(éC”~*~*;”*#O CH depeNdeeNt........eeeseseen
DAUGHTER 19 a ve.
Do not state the dependents’ N
names. SON 14 [} No
Yes
C No
C1 Yes
OF No
CI Yes
0 No
C Yes
3. Do your expenses include No
expenses of people other than Ol Yes

yourself and your dependents?

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses

4. The rentai or home ownership expenses for your residence. 4. $837.09
Include first mortgage payments and any rent for the ground or lot.

 

If not included in line 4:

4a. Real estate taxes 4a.
4b. Property, homeowner's, or renter’s insurance 4b.
4c. Home maintenance, repair, and upkeep expenses Ac. $100.00
4d. Homeowner's association or condominium dues Ad. $220.00

Official Form 106J Schedule J: Your Expenses , page 1

 
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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known) 19-22142 LSS

 

 

 

 

 

 

 

5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:
6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Internet, satellite, and
cable services
6d. Other. Specify: SECURITY
7. Food and housekeeping supplies
8. Childcare and children's education costs
9. Clothing, laundry, and dry cleaning
10. Personal care products and services
11. Medical and dental expenses
12. Transportation. Include gas, maintenance, bus or train
fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,
magazines, and books
14. Charitable contributions and religious donations
15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance
15b. Health insurance
15c. Vehicle insurance
15d. Other insurance. Specify: STORAGE
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:
17. Instaflment or lease payments:
17a. Car payments for Vehicle 1
17b.. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:
18. Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule |, Your Income (Official Form 106)).
19. Other payments you make to support others who do not live with you.
Specify:
Official Form 106J Schedule J: Your Expenses

Your expenses

6a.
6b.

6c.

6d.

10.
11.
12.

13.

14.

15a.
15b.
15c.

15d.

16.

17a.
17b.
17c.

17d.

18.

19.

$150.00
75.00
$337.69

$63.59

—__ $800.00
$50.00
_—___ $200.00
$160.00
—___ $175.00
$250.00

$355.00
$551.00

page 2

 
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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known) 19-22142 LSS
20. Other real property expenses not included in lines 4 or 5 of this form or on
Schedule |: Your Income.
20a. Mortgages on other property 20a. $875.91
20b. Real estate taxes 20b.
20c. Property, homeowner's, or renter’s insurance 20c. $17.50
20d. Maintenance, repair, and upkeep expenses 20d. $206.42
20e. Homeowner's association or condominium dues 20e. $361.32
21. Other. Specify: 21.0 4
22. Calculate your monthly expenses.
22a. Add lines 4 through 21. 22a. $5,785.52
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2. 22b.
22c. Add line 22a and 22b. The result is your monthly expenses. 226. $5,785.52
23. Caiculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule I. 23a. $5,472.65
23b. Copy your monthly expenses from line 22c above. 23b. — $5,785.52
23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. 23c. | ____ ($312.87)
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
payment to increase or decrease because of a modification to the terms of your mortgage?
No.
CO Yes.} Explain here:
None.
Official Form 106J Schedule J: Your Expenses page 3

 
